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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v. Cr. No. 07-181 (EGS)
ZHENLI YE GON
MOTION OF THE PUBLIC DEFENDER SERVICE AS AMICUS CURIAE FOR
ACCESS TO RELEVANT PARTS OF THE SEALED RECORD
By order dated July 14, 2009, this Court invited the Public Defender Service for
the District of Columbia and/or the Federal Public Defender for the District of Columbia
to tile an amicus brief to address issues raised by the parties and the Court related to the
government’s motion to dismiss this case. In order to better serve this Court, counsel
requests access to those portions of the record that appear to pertain directly to the
government’s motion to dismiss and that are not available on the public docket
Specifically, counsel requests access to 1) the sealed Declaration of Assistant United
States Attorney Paul Laymon filed as an attachment to the Supplement to Government’s
Motion to Dismiss (document 178) on June 24, 2009; 2) an unredacted version of the
Second Supplernent to the Government’s Motion to Dismiss (document 186) filed on July
14, 2009; and 3) a transcription of the discussion that was held on the record but placed
under seal at the hearing on the government’s motion to dismiss on June 22, 2009. See
transcript of hearing of June 22, 2009 at 1115 pm at pages 8-9.
Undersigned counsel Will keep the material under seal and restrict access to all
but her immediate colleagues at the Public Defender Service and at the Federal Defender

who may collaborate or assist in the preparation of the amicus brief. Any references to

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the sealed material Will be filed under seal.

Respectfully submitted,

/s/
Sandra K. Levick #358470
Public Defender Service
633 Indiana Avenue, N.W.
Washington, D.C. 20004
(202) 628-1200

 

Counsel for Amicus Curz`ae

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ORDER

The Public Defender Service and the Federal Defender are permitted to copy and
review the sealed record and transcript relating to the government’s motion to dismiss

The material shall remain under seal.

 

Emmet G. Sullivan
United States District Judge

